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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

JAC’QUANN (ADMIRE)
HARVARD, et al.,

             Plaintiffs,

v.                                            CASE NO.: 4:19cv212-MW/CAS

MARK INCH, Secretary of Florida
Department of Corrections, et al.,

          Defendants.
___________________________________/

        AMENDED ORDER DIRECTING EXPEDITED RESPONSE

      On March 26, 2020, this Court entered an Order directing Defendants to

respond to Plaintiffs’ request for production and interrogatories. ECF No. 125. In its

Order, this Court mistakenly indicated that Plaintiffs’ motion was granted—as

evidenced by the title of the prior order. The parties shall, therefore, ignore this

Courts Order, ECF No. 125. Instead, Defendants are directed to respond to Plaintiffs’

motion, ECF No. 124, on or before March 30, 2020. See N.D. Fla. Loc. R. 7.1(E).

In so ruling, this Court understands Plaintiff requested the discovery be turned over

on or before that date.

      SO ORDERED on March 26, 2020.

                                       s/Mark E. Walker          ____
                                       United States District Judge
